         Case 1:13-cr-00136-DAD-BAM Document 427 Filed 12/08/16 Page 1 of 2
PROB 35 (ED/CA)

                          Report and Order Terminating Probation
                             Prior to Original Expiration Date


                                  UNITED STATES DISTRICT COURT
                                                    FOR THE


                              EASTERN DISTRICT OF CALIFORNIA

      UNITED STATES OF AMERICA                         )
                                                       )
                             v.                        )
                                                       )       Docket No.: 1:13CR00136-010 AWI
                      Chantha Chim                     )
                                                       )
                                                       )


On May 9, 2014, the above-named probationer was sentenced to Probation for a period of 3
years. Supervision commenced on May 9, 2014.


The probationer has complied with the rules and regulations of Probation and is no longer in
need of supervision. It is accordingly recommended that the probationer be discharged from
supervision.


                                            Respectfully submitted,

                                            /s/ Marlene K. DeOrian
                                              Marlene K. DeOrian
                                       Sr. United States Probation Officer


Dated:            December 5, 2016
                  Fresno, California
                  MKD

                             /s/ Tim D. Mechem

REVIEWED BY:                   Tim D. Mechem
                               Supervisory United States Probation Officer




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                                                                                                           Rev. 06/2015
                                                                             EARLY TERMINATION ~ ORDER (PROB35).DOTX
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PROB 35 (ED/CA)



Re:        Chantha Chim
           Docket No: 1:13CR00136-010 AWI
           Report and Order Terminating Probation
           Prior to Original Expiration Date




                                    ORDER OF COURT

Pursuant to the above report, it is ordered that Chantha Chim be discharged from Probation, and
that the proceedings in the case be terminated.

IT IS SO ORDERED.

Dated: December 8, 2016
                                          SENIOR DISTRICT JUDGE




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                                                                      EARLY TERMINATION ~ ORDER (PROB35).DOTX
